Case 1:04-cr-00741-JG-MDG   Document 209    Filed 09/26/07   Page 1 of 6 PageID #:
                                    505




                                           s/John Gleeson
Case 1:04-cr-00741-JG-MDG   Document 209   Filed 09/26/07   Page 2 of 6 PageID #:
                                    506
Case 1:04-cr-00741-JG-MDG   Document 209   Filed 09/26/07   Page 3 of 6 PageID #:
                                    507
Case 1:04-cr-00741-JG-MDG   Document 209   Filed 09/26/07   Page 4 of 6 PageID #:
                                    508
Case 1:04-cr-00741-JG-MDG   Document 209   Filed 09/26/07   Page 5 of 6 PageID #:
                                    509
Case 1:04-cr-00741-JG-MDG   Document 209   Filed 09/26/07   Page 6 of 6 PageID #:
                                    510
